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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )                 No. 17-CR-10092-NMG
                                          )
GARY P. DECICCO,                          )
                                          )
                  Defendant.              )
__________________________________________)

            OPPOSITION TO UNITED STATES’ MOTION IN LIMINE
                TO PRECLUDE DEFENDANT FROM OFFERING
       OR ELICITING HIS OWN SELF-SERVING STATEMENTS (Dkt. No. 260)

       Defendant Gary DeCicco respectfully opposes the government’s Motion in Limine to

preclude the defense from offering or eliciting Mr. DeCicco’s so-called “self-serving statements”

(Dkt. No. 260). The government has improperly conflated the concepts of “exculpatory” with

“self-serving.” It seeks a blanket prohibition on Mr. DeCicco’s statements that would assist his

defense based on the hearsay rule, even though the statements at issue are not offered for the

truth of the matter asserted and are not hearsay. As with the government’s other attempts to

exclude centrally relevant but unflattering evidence about CW-1 and his business, see, e.g., Dkt.

No. 261, this is a not-so-veiled attempt to prevent the defense from rebutting the government’s

theory of the case, which alleges that DeCicco committed acts to obtain an interest in CW-1’s

used car dealership. The government’s motion should be denied, as it constitutes a brazen effort

to deprive Mr. DeCicco of his Sixth Amendment right to present a defense.

                                     RELEVANT FACTS

I.     The Government’s Theory of the Case

       The Indictment charges Mr. DeCicco with one count of attempted extortion in violation
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of the Hobbs Act, 18 U.S.C. § 1951. Dkt No. 23. It alleges that from 2013 through January 11,

2015, Mr. DeCicco unlawfully “attempted to obtain an interest in [CW-1’s] automobile

dealership from [CW-1] with his consent, induced by wrongful use of actual and threatened

force, violence, and fear.” Dkt No. 23. Since the filing of the criminal complaint on March 16,

2017, see Dkt. No. 3, the government has consistently pressed its theory that Mr. DeCicco is

criminally liable for extortion because—according to CW-1—Mr. DeCicco sought to be a

“partner” of CW-1 in CW-1’s business, Auto Excellence Group. The government’s theory of the

case is that Mr. DeCicco delivered flowers, a cross, a note, and pizza to CW-1 on August 4,

2014, and orchestrated CW-1’s assault on January 11, 2015, all because Mr. DeCicco was

attempting to persuade CW-1 to allow him to become CW-1’s partner in Auto Excellence Group.

        Specifically, the government has enunciated this theory through affidavits of FBI and IRS

Special Agents investigating the case, as well as reports or memoranda of interview of CW-1,

including the following:

       Dated March 16, 2017, SA Elio’s affidavit attests that “DeCicco approached CW-
        1 about being partners in the automobile dealership.” Dkt. No. 3-1 at ¶ 7. “CW-
        1 learned that DeCicco was telling people that he was going to be partners with
        CW-1 in the dealership. According to CW-1, DeCicco told the architect who did
        the plans for the building that he was going to be partners with CW-1 . . . CW-1
        made it clear to the architect that he had no intention of having DeCicco as a
        partner.” Dkt. No. 3-1 at ¶ 8. “According to CW-1, DeCicco became very upset
        that he was not going to be partners with CW-1.” Dkt. No. 3-1 at ¶ 9. “When
        asked by police on August 6, 2014 why DeCicco would be interested in harassing
        him, CW-1 told the police department that DeCicco wanted to be a partner in the
        business with CW-1 but that CW-1 did not need a partner.” Dkt. No. 3-1 at ¶ 12.

       IRS SA Lemanski’s affidavit, submitted in support of the government’s motion to
        detain, contains remarkably similar language. See, e.g., Dkt. No. 70-5 at ¶ 5
        (“being partners”); ¶ 6 (“going to be partners”); ¶ 7 (Mr. DeCicco was upset he
        “was not going to be partners with CW-1”).

       During the first detention hearing, IRS SA Lemanski testified that shortly after
        construction, “[CW-1] was approached by Mr. DeCicco requesting if he could be
        partners with him that dealership.” Dkt. No. 18 at 7:3-10. AUSA Barclay
        encouraged SA Lemanski to go on, asking:


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               Q:     And then did the victim receive other information about Mr.
                      DeCicco asserting an interest in the ownership?

               A:     Yes. Shortly after his conversation with Mr. Deicco about becoming
                      partners, he had started to hear rumors and other people, associates
                      that Mr. DeCicco and both he had, that Mr. DeCicco was saying that
                      he was – had an ownership interest in that dealership.

               Dkt. No. 18 at 7:15-21.

       SA Lemanski went on to argue that the note that accompanied the flowers was also
        indicative that CW-1’s assault related to a dispute over ownership of the
        dealership, and that CW-1 has been consistent and would be the only person to say
        that because “he’s the one who was receiving the threats.” Dkt. No. 18 at 59:19-
        60:9. See also Dkt. No. 18 at 96:24-97:1 (testifying that CW-1 believed he
        received flowers and was assaulted because “Mr. DeCicco was getting back at him
        for not being – allowing him to be partners in his dealership with him”).

       The government has similarly maintained this ownership interest/partner theory of
        the case while arguing to detain Mr. DeCicco pretrial. In arguing that there is
        sufficient evidence of attempted extortion, the government stated, “[t]he victim
        told investigators several times that Mr. DeCicco wanted a piece of the business,
        and that other people had told him that Mr. DeCicco wanted a piece of the
        business . . . Mr. DeCicco said he owns it . . . the card mentions the fact that Mr.
        DeCicco is the true owner of the dealership . . . .” Dkt. No. 18 at 113:6-9, 14-
        15; 17-18.

       Later, when Mr. DeCicco sought to reopen the detention hearing and argued that
        there was conflicting evidence on the motive for CW-1’s assault, the government
        insisted that the objective evidence supported the ownership theory:

               “But the fact that Defendant told CW-4 that CW-1 had harassed a woman
               in his life is belied by the evidence that Defendant arranged the beating
               because he wanted an interest in CW-1’s business. See, e.g., Docket No.
               18, at 7 (Defendant commented to CW-1 about being partners) . . . .” Dkt.
               No. 47 at 11.

(emphasis added).

        In addition, the government’s recent production of CW-1’s statements to the FBI have

shown that he has continued to insist that this purported desire of Mr. DeCicco to associate with

him, and to partner with him in Auto Excellence Group, was the reason CW-1 was the recipient

of allegedly extortionate acts. CW-1 has stated, for example, that he believes he was assaulted



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because “Gary knows that I’m doing well and he wants a piece of my business.” Exhibit A at 2;

that “DeCicco knew of [CW-1]’s good reputation in the luxury automobile business” and “part

of the reason why DeCicco wanted to be partners with CHS in the automobile business was

based on the fact that DeCicco knew of [CW-1]’s good reputation in the business and that

DeCicco knew that [CW-1] was successful in the business.” Exhibit B. CW-1 further stated that

“it was no secret that CHS has always done well in the luxury car market[.]” Id. CW-1 also told

federal agents that Mr. DeCicco was “very upset” about not allowing him to be partners with him

because it had “everything that DeCicco liked. It was located in a gorgeous building, that was

full of exotic cars and the dealership was the talk of the town when it opened.” Dkt. No. 35-13 at

¶ 18.

II.     The Animus Between Mr. DeCicco and CW-1

        There is ample evidence that Mr. DeCicco and CW-1’s relationship of over a decade had

deteriorated well before the first alleged extortionate act occurred. CW-1 himself admits that

their relationship “went south” by June 2014 at the very latest, due to a contractual dispute over

whether Mr. DeCicco was obligated to pave the lot of Auto Excellence Group.1 Exhibit C at 2.

Another witness stated that the two men were “always jealous of each other” and that [CW-1]

would “bad mouth” Mr. DeCicco’s decisions. Exhibit D at 2.

        Multiple witnesses will further testify that, before the flower delivery in August 2014,

Mr. DeCicco freely doled out insults about CW-1 to family, friends, and business acquaintances

alike. For example, Mr. DeCicco told Phillip Baldi that CW-1 was a “moron,” a “dope,” and “an

idiot” for “trying to sell Maserati’s in the middle of winter,” that CW-1 would “end up blowing

through” his inheritance. Exhibit E, at ¶¶ 14, 16; Exhibit F at ¶ 7. He berated Peter Varone, Jr.,


1
 According to CW-1, Auto Excellence Group opened its doors in June 2014, presumably after the paving was
complete.


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the son of one of his best friends, for buying a car from CW-1 because he “screwed [Varone]’s

dad out of $10,000.” Exhibit E, at ¶ 18. He also spoke candidly about his view of CW-1 to his

sister, Noelle Spinosa, calling him names such as a “piece of shit,” “loser,” “prick,” “asshole,”

“son of a bitch,” “motherfucker,” “scumbag,” and “jerk.” See, e.g., Dkt. No. 84-6. In or around

March 2014, Mr. DeCicco believed that CW-1 was pursuing Ms. Spinosa just to provoke and

annoy him, and frankly relayed this belief to her, warning her to stay away from CW-1. See id.

III.   Mr. DeCicco’s Statements Surrounding the Alleged Extortionate Acts

       The record also reflects what government and defense witnesses alike are prepared to

testify about Mr. DeCicco’s statements concerning the delivery of the flowers and the assault.

With respect to the flower delivery, Mr. Baldi stated that, on August 4, 2014, Mr. DeCicco asked

him “what we can do to harass or bug this guy” before sending CW-1 pizza and impersonating

him on the phone to CW-1’s favorite restaurant as a prank. Exhibit E, at ¶ 20. Mr. Baldi further

stated that he believed that the decision to send flowers was spontaneous, and that Mr. DeCicco

was “busting [CW-1]’s balls” because of he was upset that CW-1 consistently failed to pay Peter

Varone for his work at Auto Excellence Group. Exhibit F, at ¶ 10. Shortly after delivering the

flowers, Mr. DeCicco crowed about the prank by telling his family—including his parents and

adult sisters—that he sent that “asshole” pizza and “got that asshole real good,” Dkt. No. 84-6, at

¶ 13. Mr. Baldi also will testify that Mr. DeCicco told him that CW-1 had been saying negative

things about Mr. DeCicco behind his back. No witness, other than CW-1, will testify that Mr.

DeCicco sent the flowers, note, and pizza to CW-1 in order to induce him to give up a

partnership or ownership stake in Auto Excellence Group.

       With respect to the assault, which was arranged by CW-4, CW-4 has stated that CW-1

“had said something bad about DeCicco’s daughter or ex-wife,” and later testified that Mr.

DeCicco had told him that “a neighbor” was “harassing his wife or daughter.” Exhibit G, at


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ll:18-24. Another witness and a friend of CW-1’s, Richard Scourtas, also testified that before the

assault, Mr. DeCicco told Mr. Scourtas to relay a message to CW-1 for him to “keep his mouth

shut . . . stop talking bad about DeCicco.” Exhibit H, at 3.

                                               ARGUMENT

        Brandishing Federal Rule of Evidence 801(d)(2)(A), the government impermissibly

moves for a blanket prohibition against defense counsel introducing or even commenting on

“evidence of statements of the defendant,” whether through “opening statement, cross

examination of witnesses, examination of witnesses, introduction of exhibits, or closing

statement.”2 Dkt. No. 260 at 4. According to the government, this would constitute

impermissible hearsay because the defendant is not permitted to use Rule 801(d)(2)(A) to

introduce his own statements. As a threshold matter, however, because the introduction of such

evidence by the defense would not be made pursuant to Rule 801(d)(2)(A), the government’s

discussion of this rule—and indeed the entire basis for its motion—is simply inapposite.

        In fact, a cursory review of the statements that the government has singled out for

complaint reveals that they would not be offered for the truth of the matter asserted, removing

the anticipated evidentiary dispute from the hearsay rule entirely. See Fed. R. Evid. 801(c). For

example, proposed Exhibit 2 is an email between Mr. DeCicco and Andrew Bisignani, wherein

Mr. DeCicco counsels Mr. Bisignani not to purchase a vehicle from CW-1. The fact that Mr.

DeCicco told someone he “wouldn’t buy a Ferrari from [CW-1]… Seriously… [CW-1] isn’t the

right guy to buy from” is obviously not being offered for the truth that CW-1 is not the “right

person to buy from.” See Proposed Exhibit 2, attached as Exhibit I. Instead, it is offered as


2
  The government complains that it does not know the anticipated testimony of “the vast majority” of the
defendant’s 54 witnesses. But the government has interviewed at least 25 of them—some of them numerous
times—and another 9 of them are records custodians.



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evidence to show that Mr. DeCicco said those words, from which it could be inferred that Mr.

DeCicco neither liked CW-1 nor thought much about his business practices. This statement

would tend to prove Mr. DeCicco’s animus toward CW-1 regardless of whether CW-1 truly was

“the right person” from whom to buy a Ferrari.

        For the same reason, an email between Mr. DeCicco and Peter Varone, wherein Mr.

DeCicco calls CW-1 “a jerk,” is not hearsay. See Proposed Exhibit 70, attached as Exhibit J.

The statement was made in response to Mr. DeCicco learning about CW-1’s threat to inflict

bodily harm on an architect with whom Mr. DeCicco conducted business, wherein the architect’s

employer wrote:

        On two separate occasions earlier today [CW-1] threatened bodily harm to my
        associate John Lloyd, threatening to assault him in my office and later asking John
        on the phone to disclose his location so that [CW-1] could go to that location and
        assault him. These threats followed verbal unfounded accusations of
        unprofessionalism with regard to his building process.

See Exhibit K. Mr. DeCicco’s reaction to this incident is clearly not being offered for the truth

of the matter asserted that CW-1 was a “jerk,” but rather to show animus.3 See, e.g., Iorio v.

Aramark Servicemaster, No. Civ. A. 03-40147-FDS, 2005 WL 3728715, at *8 (D. Mass. Sept.

30, 2005) (declarant’s statement that plaintiff was a “bitch” is not hearsay because it was not

offered for its truth, would be admissible under FRE 803(3) even if it were, and revealed

declarant’s animus toward plaintiff).

        Scratching below the surface, it becomes clear that the government is disguising its

request for the Court to preclude the introduction of exculpatory evidence under the ill-suited



3
 Proposed Exhibits 37 and 97, also singled out by the government, do not contain statements that the government
would credibly consider “self-serving”—they concern communications between Mr. DeCicco and Richard Scourtas
and GF-1, respectively, both discussing vehicles. Proposed Exhibit 100 has since been withdrawn.




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guise of precluding “self-serving” statements under Rule 801(d)(2)(A).4 This is because the

government is cognizant that its decision to press the baseless theory that Mr. DeCicco desired to

partner with CW-1 necessitates the defense to counter this theory by showing why Mr. DeCicco

would not want to partner with CW-1. The gravamen of the government’s complaint, therefore,

centers on statements that reflect Mr. DeCicco’s deep dislike for CW-1. But they are not

hearsay. For example, the government has focused its ire on statements Mr. DeCicco made to

his sister, Noelle Spinosa, about CW-1, even though it would be strange to characterize her as a

co-conspirator of Mr. DeCicco; indeed, the government has not so argued. See Fed. R. Evid.

801(d)(2)(A) (deeming co-conspirator statements offered for the truth of the matter asserted

non-hearsay). Moreover, Mr. DeCicco’s griping about CW-1 trying to “get”—i.e., annoy—him

by attempting to date Ms. Spinosa cannot credibly be characterized as self-serving; what possible

interest does it serve Mr. DeCicco to complain about CW-1’s attempt to date his sister, six

months before the first alleged extortionate act occurred? Dkt. No. 84-6 at ¶ 12. See also United

States v. Barone, 114 F.3d 1284, 1301 (1st Cir. 1997) (citation omitted) (finding declarant’s

statements not self-serving and admissible because they were made to close relatives “in a

noncustodial setting rather than to the police” and that he had no reason to lie). Similarly, Mr.

DeCicco’s exultant statement that he “got that asshole real good” is not offered for its truth, nor

is it self-serving. The statements, however, are exculpatory because they rebut the government’s

theory that Mr. DeCicco wished to become a business partner of CW-1, when it is clear from Mr.

DeCicco’s pronouncements that he viewed CW-1 with disdain. That the evidence does damage

to the government’s case, however, is not in and of itself a valid reason for excluding it.



4
 By which the government means the introduction of co-conspirator statements by the alleged co-conspirator
defendant (instead of the government) for the truth of the matter asserted, which is not at issue here. See Fed. R.
Evid. 801(d)(2)(A).


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       The rest of the cases the government relies on are inapposite. In United States v.

Wilkerson, 84 F.3d 692, 696 (4th Cir. 1996), the excluded statement was the defendant’s out-of-

court statement to the police explaining how he came into possession of stolen money, offered

for the truth of the matter asserted. In United States v. Palow, 777 F.2d 52, 56 (1st Cir. 1985),

the court admitted testimony under FRE 801(d)(2)(A) of a co-defendant repeating the

defendant’s statements. United States v. McDaniel, 398 F.3d 540, 545 (6th Cir. 2005) also

expressly discusses the admissibility of a statement under FRE 801(d)(2). Neither Palow nor

McDaniel are applicable to the statements that the government has complained of in its motion.

       Finally, even if the statements were sought to be admitted for the truth of the matter

asserted, they would fall under one of several hearsay exceptions, including: (1) Mr. DeCicco’s

then-existing state of mind; (2) Mr. DeCicco’s present sense impression; (3) excited utterance; or

even (4) statements against penal interest, given that his apparent admissions would expose him

to civil and criminal liability—just not the one that the government has attempted to shoehorn

into this case. See Fed. R. Evid. 803(3); 803(1); 803(2); 804(b)(3).

       The government’s motion in limine to exclude all of Mr. DeCicco’s statements merely

because they happen to be exculpatory—without properly conducting the hearsay analysis—is

impermissibly overbroad. Should the government object to particular statements as hearsay at

trial, its objections should be dealt with on a statement-by-statement basis so the Court can assess

whether they are truly offered for the truth of the matter asserted and fall within a hearsay

exception. The government’s motion should be denied.




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                                               Respectfully submitted,

                                               GARY P. DECICCO

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                              CERTIFICATE OF SERVICE


        I hereby certify that a true copy of the above document was filed on May 22, 2018
through the CM/ECF system and will be served electronically to registered CM/ECF participants
as identified on the Notice of Electronic Filing.

                                                  /s/ Thomas C. Frongillo
                                                  Thomas C. Frongillo




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